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B2100A (Form 2100A) (12/15)


                          United States Bankruptcy Court
                          _______________
                          Northern        District Of _______________
                                                      Indiana

      Jeannea Alicia Clemons
In re ______________________________,                                     18-23255-jra
                                                                 Case No. ________________



                  TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
transfer, other than for security, of the claim referenced in this evidence and notice.

 U.S. Bank National Association, not in its individual                      U.S. Bank National Association, not in its
capacity but solely as trustee for RMTP Trust,                              individual capacity but solely as trustee for
Series 2021 BKM-TT
______________________________________                                      the RMAC Trust, Series 2018 G-CTT
                                                                            ____________________________________
           Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                 Court Claim # (if known): 12
should be sent:                                                              Amount of Claim: $64,994.91
Rushmore Loan Management Services                                            Date Claim Filed: 02/06/2019
P.O. Box 55004
Irvine, CA 92619-2708
       888-504-6700
Phone: ______________________________                                               888-504-6700
                                                                            Phone: __________________________
                            6912
Last Four Digits of Acct #: ______________                                                               6912
                                                                            Last Four Digits of Acct. #: __________

Name and Address where transferee payments
should be sent (if different from above):
Rushmore Loan Management Services
P.O. Box 52708
Irvine, CA 92619-2708
        888-504-6700
Phone: _______________________________
Last Four Digits of Acct #: _______________



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

   /s/ Michelle Ghidotti-Gonsalves
By:__________________________________                                             05/14/2021
                                                                             Date:____________________________
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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B2100B (Form 2100B) (12/15)

                    United States Bankruptcy Court
                    _______________
                    Northern        District Of _______________
                                                Indiana


      Jeannea Alicia Clemons
In re ______________________________,                    18-23255-jra
                                                Case No. ________________




     NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
            12
Claim No. _____    (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
Other than for Security in the clerk’s office of this court on ______
                                                               05/14/2021 (date).




Name of Alleged Transferor                                          Name of Transferee
U.S. Bank National Association, not in its                           U.S. Bank National Association, not in its
individual capacity but solely as trustee for                       individual capacity but solely as trustee for
the RMAC Trust, Series 2018 G-CTT                                   RMTP Trust, Series 2021 BKM-TT
Address of Alleged Transferor:                                      Address of Transferee:
Rushmore Loan Management Services                                    Rushmore Loan Management Services
P.O. Box 55004                                                       P.O. Box 55004
Irvine, CA 92619-2708                                                Irvine, CA 92619-2708

                              ~~DEADLINE TO OBJECT TO TRANSFER~~
The alleged transferor of the claim is hereby notified that objections must be filed with the court
within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
court, the transferee will be substituted as the original claimant without further order of the court.




Date:_________                                                ______________________________
                                                                CLERK OF THE COURT
